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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 15-20744
                                                              Hon. Mark A. Goldsmith
vs.

DESMOND CAMP,

            Defendant.
_______________________________/

                            OPINION
SETTING FORTH THE REASONS FOR DENYING DEFENDANT DESMOND CAMP’S
           MOTION FOR COMPASSIONATE RELEASE (Dkt. 78)

       The Court denied Defendant Desmond Camp’s motion for compassionate release on

October 26, 2020 (Dkt. 87). The Court is entering this Opinion to set forth its findings and analysis

in support of that order.

       Camp pleaded guilty to interference with commerce by robbery, in violation of 18 U.S.C.

§ 1951(a), use of a firearm during and in relation to a crim of violence, in violation of 18 U.S.C. §

924(c)(1)(C)(i), and being a felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1).

See Judgement (Dkt. 40). The Court sentenced him to 31 years’ imprisonment on July 14, 2017.

Id. On appeal, the Sixth Circuit affirmed Camp’s conviction, but vacated his sentence and

remanded this matter for re-sentencing. The re-sentencing has been delayed due to complications

caused by COVID-19. Camp’s re-sentencing would not alter the compassionate release analysis.

Camp sought compassionate release under the First Step Act, because of the dangers posed by

COVID-19. For the reasons that follow, the Court denied Camp’s motion.
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                                  I.      LEGAL STANDARD

       The First Step Act modified the statute concerning the compassionate release of federal

prisoners, 18 U.S.C. § 3582, such that district courts may entertain motions filed by incarcerated

defendants seeking to reduce their sentences. United States v. Ruffin, 978 F.3d 1000, 1003-1004

(6th Cir. 2020). Under 18 U.S.C. § 3582(c)(1)(A)(i), a court may reduce a sentence if, after

considering the sentencing factors set forth in § 3553(a), the court finds that “extraordinary and

compelling reasons warrant such a reduction . . . and that such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

       In the commentary to U.S.S.G. § 1B1.13, the Sentencing Commission has enumerated

several extraordinary and compelling reasons justifying a reduction of sentence, including the

“Medical Condition of the Defendant,” “Age of the Defendant,” and “Family Circumstances.”

U.S.S.G. 1B1.13 cmt. n.1(A)-(C). Some examples of compelling reasons are medical conditions

“with an end of life trajectory,” a defendant’s serious physical deterioration related to the aging

process, and death or incapacitation of a caregiver of a defendant’s minor child or children. Id.

The Guidelines also contemplate “Other Reasons” where the defendant has “extraordinary and

compelling reasons other than, or in combination with” the other enumerated reasons. U.S.S.G.

1B1.13 cmt. n.1(D). “Beyond the extraordinary-and-compelling-reasons requirement, this policy

statement also requires a district court to find that ‘the defendant is not a danger to the safety of

any other person or to the community, as provided in 18 U.S.C. § 3142(g).’” Ruffin, 2020 WL

6268582, at *4 (quoting U.S.S.G. 1B1.13(2)-(3)).

       After the Court issued its order denying Camp’s motion, the Sixth Circuit held that with

respect to motions for compassionate release filed by imprisoned individuals, “extraordinary and

compelling” reasons are not limited to those set forth in § 1B1.13. United States v. Jones, 980



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F.3d 1098, 1109 (6th Cir. 2020). The Sixth Circuit held that “[u]ntil the Sentencing Commission

updates § 1B1.13 to reflect the First Step Act, district courts have full discretion in the interim to

determine whether an ‘extraordinary and compelling’ reason justifies compassionate release when

an imprisoned person files a § 3582(c)(1)(A) motion.” Id. However, Jones would not have altered

the Court’s decision.

                                        II.     ANALYSIS

       Camp, age 49, is currently serving his custodial sentence at Milan FCI for an armed robbery

of a Family Dollar Store. At the time the Court denied his motion for compassionate release, he

had served almost five years of his thirty-one-year sentence.

       Camp sought release based on his Body Mass Index (“BMI”), which fluctuates between 28

and 31. See Camp’s 2020 Medical Records, Ex. 3 to Gov’t Resp. (Dkt. 83-2). In his reply brief,

Camp also claimed to have other conditions that made him more vulnerable to severe symptoms

from COVID-19, Reply at 4, but those conditions are either not recognized as increasing

vulnerability to COVID-19 (pre-diabetes), or not reflected in his medical records (chronic

dyspnea). Camp’s 2020 Medical Records; see also Camp’s 2019 Medical Records, Ex. 4 to Gov’t

Resp. (Dkt. 83-3).

       As the Government notes, a BMI over 30 puts an individual at an increased risk of suffering

the more severe symptoms from COVID-19.1 However, it observed that Camp’s BMI tended to

fluctuate above and below the 30 BMI threshold. Nonetheless, the Government concedes that

Camp’s BMI “may satisfy” the standard. Resp. at 15. Because the Government appeared to




1
   Certain     Medical   Conditions           and       Risk   for   Severe    COVID-19        Illness
(CDC): https://perma.cc/HT7Y-KAC8.
                                                    3
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concede that Camp’s BMI constituted an extraordinary and compelling reason to reduce his

sentence, the Court was satisfied that Camp satisfied the first inquiry.

       However, the § 3553(a) factors did not favor Camp’s release. Before granting a sentence

reduction under the First Step Act, the Court must consider the § 3553(a) factors, which include

the nature and circumstances of a defendant’s offenses, the seriousness of the offenses and the

need to promote respect for the law, and the need to protect the public from further crimes by the

defendant. Camp has a history of armed robberies, see Presentence Investigative Report, Ex. 2 to

Gov’t Resp., at 10-11 (Dkt. 83-1), a history of disciplinary offenses while serving a prior custodial

sentence, including staff assaults, making and selling alcohol, failing to obey orders, and other

violations, see Camp Discipline Data, Ex. 4 to Gov’t Resp. (Dkt. 83-4). Camp’s crimes were

serious, for which he received a thirty-one-year custodial sentence. Releasing Camp after serving

only five years of his sentence would not promote respect for the law nor would it protect the

public from further crimes by Camp.

       Because the § 3553(a) factors did not favor Camp’s release, his motion was denied.

                                     III.    CONCLUSION

       For the reasons stated above, the Court denied Camp’s motion for compassionate release

(Dkt. 78).

Dated: December 30, 2020                              s/Mark A. Goldsmith
       Detroit, Michigan                              MARK A. GOLDSMITH
                                                      United States District Judge

                                 CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and any
unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
addresses disclosed on the Notice of Electronic Filing on December 30, 2020.

                                                      s/Karri Sandusky
                                                      Case Manager

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